Case 1:22-cv-00339-SPB   Document 412   Filed 06/14/24   Page 1 of 5
Case 1:22-cv-00339-SPB   Document 412   Filed 06/14/24   Page 2 of 5
Case 1:22-cv-00339-SPB   Document 412   Filed 06/14/24   Page 3 of 5
       Case 1:22-cv-00339-SPB           Document 412         Filed 06/14/24      Page 4 of 5




To the extent any party may suffer prejudice from the allowance of an amendment, the party

most prejudiced would be the Secretary because he is not a party in the parallel action. But when

specifically called upon during the hearing on this motion, the Secretary voiced no objection to

the amendment of the complaint. Accordingly, the Court finds no substantial prejudice to the

Defendants in granting the Plaintiffs' motion.

       Before the Second Amended Complaint may be docketed however, there is a

housekeeping matter to which Plaintiffs must attend. As discussed during the oral argument, the

caption of the proposed Second Amended Complaint must be redrafted, naming only the

remaining Defendants herein. This is to more properly reflect the status of the current parties and

to acknowledge that Plaintiffs are pursuing their Equal Protection and First Amendment claims

against the Secretary and twelve county boards of elections as opposed to the sixty-seven county

boards originally sued. Accordingly, Plaintiffs will be given until June 20, 2024, to file the

Second Amended Complaint.




       AND NOW, this 14th day of June 2024;

       IT IS HEREBY ORDERED that Plaintiffs' motion for leave to file a second amended

complaint [ECF No. 387] is granted. Plaintiffs must file the Second Amended Complaint,

consistent with this Memorandum Order, by June 20, 2024.

       IT IS FURTHER ORDERED that the remaining Defendants must file an answer by June

28, 2024.




                                                 4
Case 1:22-cv-00339-SPB   Document 412   Filed 06/14/24   Page 5 of 5
